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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,
v.

WAEL MORTADA,                                          Case No. 04-80480-7

         Defendant.                                    Honorable Patrick J. Duggan
                                        /

     ORDER DENYING DEFENDANT’S MOTION TO AMEND SENTENCE

                        At a session of said Court, held in the U.S.
                      District Courthouse, City of Detroit, County of
                      Wayne, State of Michigan, on June 19, 2008.

                 PRESENT: THE HONORABLE PATRICK J. DUGGAN
                          U.S. DISTRICT COURT JUDGE

     Presently before the Court is a Motion on behalf of Wael Mortada to amend the

sentence imposed by this Court on May 15, 2008. In arriving at the sentence that the Court

imposed, the Court considered all of the information contained in the Presentence Report

(which Defendant acknowledged as being correct), including the fact that he resides with his

parents and “according to the Defendant, his parents are divorced despite their current living

arrangements.” The Court further considered the arguments made on behalf of Mr. Mortada

by his counsel, including counsel’s request that the Court grant the government’s Motion to

reduce the guideline range by fifty percent, which would result in a low-end of seven and

one-half months. The Court also acknowledges that counsel asked that the Court consider

some type of house arrest.
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     As counsel acknowledged, Defendant was facing a minimum of seven and one-half

months in prison. The Court expressly rejected defense counsel’s request of a sentence of

probation because, as the Court indicated, a sentence of probation would not be, in this

Court’s opinion, adequate punishment and certainly would not serve as an adequate deterrent.

     Nevertheless, the Court decided that it would be appropriate to “give Defendant a

break” and thus sentenced him to six months of community confinement, which would allow

him to continue his employment.

     Nothing in Defendant’s Motion persuades this Court that there should be any

modification in the sentence.

     For the reasons set forth above, Defendant’s Motion to amend sentence is DENIED.

     SO ORDERED.


                                   s/PATRICK J. DUGGAN
                                   UNITED STATES DISTRICT JUDGE

Copies to:
Lowell S. Friedman
Cynthia Oberg, AUSA




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